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                            EXHIBIT 2
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              We would like to thank those who helped put together and review
                             this year's AIPLA Economic Survey:

                     Danika Pentcheva: PayPal - Chair of LPM Committee

          Frank Gerratana: Fish & Richardson, PC- Vice Chair of LPM Committee and

                            Chair of Economic Survey Subcommittee

                          Economic Survey Subcommittee Members:
 Ashraf Abdul-Mohsen: ARI                            Ariana Fleishman: PiVerse Inc.
 Rey Barcelo: Barcelo, Harrison & Walker             Megan l<irkegaard: ARI
 Kristin Cleveland: Klarquist Sparkman, LLP          Steven Petkovsek: Fish & Richardson, PC

 Meghan Donohoe: AIPLA




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                                             Total Costs:          litigation~Patent              Infringement,                  Varieties by location

Litigation-Patent Infringement, All Varieties $1-$10M Inclusive of pre-trial, trial, post-trial, and appeal (when applicable) (OOOs) by Location (Q36Ag)

                                                                                                                          Location

                                                                                                     Metro        Other                       Minne.-
                                         Boston        NYC       Phil a       Wash, DC   Other       South-       South-         Chicago      St. Paul   Other                L.A.        S.F.       Other
                          Total          CMSA         CMSA       CMSA          CMSA       East        east         east           CMSA         PMSA      Central    Texas    CMSA        CMSA        West

 Number of Respondents       103                  8       10              2         13           3            s                           7          6         16       lS           3           3       11

 Mean (Average)            $1,4S6         $1,663      $1,S6S         ISD        $1,S88   $1,7SO         $808          ISD            $1,S14     $1,308    $1,281    $1,612     $917      $2,817      $1,184

 10th Percentile 10%        $300             ISD        $30S         ISD          $220       ISD         ISD          !SD               !SD        !SD      $332      $362       !SD         ISO       $120

 First Quartile 2S%         $SOO            $300        $388         ISD          $42S       ISD        $S7S          !SD            $1,000       $988      $S38      $7SO       ISO         ISD       $22S

 Median (Midpoint)         $1,000         $1,SOO      $1,12S         ISD        $1,400     $7SO         $890          !SD            $1,300     $1,0SO      $900    $1,000     $7SO      $1,7SO      $1,000

 Third Quartile 7S%        $2,000         $2,37S      $3,000         ISD        $2,SOO       ISD      $1,000          ISD            $2,000     $1,7SO    $1,688    $2,600       ISD         ISD     $1,SOO

 90th Percentile 90%       $3,060            ISD      $3,76S         ISD        $4,240       ISD         ISD          ISD               !SD        ISO    $3,620    $3,040       ISD         ISD     $3,360



Litigation-Patent Infringement, All Varieties $1-$10M Cost of mediation (OOOs) by Location (Q36Ah)

                                                                                                                          Location

                                                                                                     Metro        Other                       Minne.-
                                         Boston        NYC       Phila        Wash, DC   Other       South-       South-         Chicago      St. Paul   Other                L.A.        S.F.       Other
                          Total          CMSA         CMSA       CMSA          CMSA       East        east         east           CMSA         PMSA      Central    Texas    CMSA        CMSA        West

 Number of Respondents            87              6          9                       8                        s                           s          6         lS       lS           3                       9
 Mean (Average)              $82            $108        $61          ISO           $63       ISO         $SS          ISO              $74         $86       $97       $86      $4S        $183         $74

 10th Percentile 10%         $20             !SD         ISD         !SD           ISD       ISD         ISO          ISO               ISD        ISO       $2S       $10       ISD         ISD        ISD

 First Quartile 2S%          $2S             $24        $38          !SD           $2S      !SD          $20          ISO              $30         $3S       $3S       $1S       ISD         ISD        $23

 Median (Midpoint)           $SO             $SO        $SS          ISO           $6S      ISO          $2S          !SD              $SO         $63       $SO       $30      $SO        $100         $SO

 Third Quartile 7S%         $100            $17S        $88          !SD         $100       !SD         $10S          ISD             $130       $123       $100      $100       ISD         !SD       $138

 90th Percentile 90%        $200             ISD         ISD         ISD           ISD      ISD          ISD          !SD               ISO        ISO      $320      $3SO       ISD         ISD        ISD



Litigation-Patent Infringement, All Varieties $10-$25M Initial case management (OOOs) by Location (Q36Ai)

                                                                                                                          Location

                                                                                                     Metro        Other                       Minne.-
                                         Boston        NYC       Phila        Wash, DC   Other       South-       South-         Chicago      St. Paul   Other                L.A.        S.F.       Other
                          Total          CMSA         CMSA       CMSA          CMSA       East        east         east           CMSA         PMSA      Central    Texas    CMSA        CMSA        West

 Number of Respondents            9S              7       10              3          9           0            s                           6          7         lS       lS           2           4       11

 Mean (Average)             $122            $116        $9S          $27         $116       !SD          $96          ISD             $132       $139       $123      $148       ISD       $17S        $138

 10th Percentile 10%         $20             ISD        $11          !SD           !SD      !SD          ISD          ISD               !SD        ISD       $19        $8       ISD         ISO        $12

 First Quartile 2S%          $40             $SO        $41          ISO           $6S      ISO          $2S          !SD              $8S         $7S       $3S       $3S       ISO        $S6         $30

 Median (Midpoint)          $100            $100        $SO          $30         $100       ISD          $80          ISO             $100       $100        $7S      $1SO       ISD        $7S        $100

 Third Quartile 7S%         $200            $200       $12S          ISD         $17S       ISD         $17S          ISO             $188       $2SO       $200      $2SO       ISD       $394        $200

 90th Percentile 90%        $2SO             ISO       $33S          ISD           ISD      ISD          ISO          !SD               !SD        ISO      $3SO      $310       ISD         ISD       $S30
